 Case 6:10-cv-01909-PCF-DAB Document 8 Filed 02/08/11 Page 1 of 1 PageID 25




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

JO ANN PARKER KELTY

Plaintiff,

vs.                                            Case No.: 6:10-cv-1909-Orl-19DAB
ASSET ACCEPTANCE, LLC,

Defendant.
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                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                WITH PREJUDICE

        Having amicably resolved all matters in controversy and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



Dated: February 8, 2011                       Respectfully submitted,


                                              /s Andrew I. Glenn
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